Case: 18-1079
          Case 4:17-cv-40118-TSH
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                   Supreme Court of the United States
                          Office of the Clerk
                      Washington, DC 20543-0001
                                                                  Scott S. Harris
                                                                  Clerk of the Court
                                                                  (202) 479-3011
                                      June 7, 2018


 Clerk
 United States Court of Appeals for the First Circuit
 United States Courthouse
 1 Courthouse Way
 Boston, MA 02210


       Re: Manuel Robert Lucero, V
           v. Thomas A. Turco, III, et al.
           No. 17-9252
           (Your No. 18-1079)


 Dear Clerk:

       The petition for a writ of certiorari in the above entitled case was filed on May
 25, 2018 and placed on the docket June 7, 2018 as No. 17-9252.




                                         Sincerely,

                                         Scott S. Harris, Clerk

                                         by

                                         Lisa Nesbitt
                                         Case Analyst
